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     Attorney for Matthew Gillum
 3
 4
                          IN THE UNITED STATES DISTRICT COURT
 5
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
 7   UNITED STATES OF AMERICA,                    )   Case No. 2:13-mj-00223-KJN
                                                  )
 8                 Plaintiff,                     )
                                                  )   STIPULATION AND PROPOSED
 9          vs.                                   )   ORDER
10                                                )
     MATTHEW GILLUM,                              )   Date: 11/15/13
11                                                )   Time: 2:00 p.m.
                   Defendant                      )   Judge: Edmund F. Brennan
12                                                )
13
14          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the

15   Preliminary Hearing currently set for October 31, 2013 at 2:00 p.m. is continued to

16   November 15, 2013, at 2:00 p.m. pursuant to Federal Rule of Criminal Procedure, Rule

17   5.1(d). On July 23, 2013, a complaint was filed against Mr. Gillum and he made an

18   initial appearance on July 24, 2013. Both parties are mutually requesting this

19   continuance in order to work on resolving this matter pre-indictment.

20          It is further stipulated that good cause exists to extend the time for the Preliminary

21   Hearing within the meaning of Rule 5.1(d). The parties further stipulate that the ends of

22   justice are served by the Court excluding time from October 31, 2013, to November 15,

23   2013, so that counsel for the defendant may have reasonable time necessary for

24   preparation, taking into account the exercise of due diligence. 18 U.S.C. Section

25   3161(h)(7)(B)(iv). The defendant, defense counsel and the government stipulate and

26   agree that the ends of justice outweigh the best interest of the public and the defendant in

27   a speedy trial. 18 U.S.C. Section 3161(h)(7)(A); Local Code T-4, preparation of counsel.

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 1   IT IS SO STIPULATED.
 2
 3   DATED: October 30, 2013                   By:    /s/ Thomas A. Johnson_____
                                                      THOMAS A. JOHNSON
 4                                                    Attorney for Defendant
                                                      Matthew Gillum
 5
     DATED: October 30, 2013                          BENJAMIN B. WAGNER
 6                                                    United States Attorney
 7
                                               By:    /s/ Thomas A. Johnson for _______
 8                                                     JUSTIN LEE
                                                       Assistant U.S. Attorney
 9
10
                                              ORDER
11
12            IT IS HEREBY ORDERED: That the Preliminary Hearing scheduled for
13   October 31, 2013, is continued to November 15, 2013. It is further ORDERED that the
14   time under the Speedy Trial Act between today’s date and November 15, 2013, is
15   excluded under Local Code T-4, and 18 U.S.C. § 3161(h)(7)(B)(iv) to ensure adequate
16   time for preparation of counsel. For the reasons set forth above, the court finds that the
17   ends of justice served by a continuance outweigh the best interests of the public and the
18   defendants in a speedy trial and therefore excludes time through November 15, 2013.
19
20   Dated: October 30, 2013
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